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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 KYLE TETREAULT,

         Plaintiff,

 v.                                                    CASE NO.: 6:18-cv-00765-PGB-KRS

 AT&T,

         Defendant.


                                          ./


                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


                COMES NOW the Plaintiff, KYLE TETREAULT, and the Defendant, AT&T, pursuant

to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel, hereby stipulate to dismiss,

with prejudice, each claim and count therein asserted by Plaintiff against the Defendant, in the above

styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

      By:

        /s/ Amanda J. Allen, Esq.                           /s/ Hans J. Germann, Esq.
        Amanda J. Allen, Esquire                            Hans J. Germann, Esquire
        Florida Bar No. 98228                               Illinois Bar No. 6274985
        The Consumer Protection Firm, PLLC                  Mayer Brown LLP
        4030 Henderson Blvd.                                71 S. Wacker Drive
        Tampa, FL 33629                                     Chicago, IL 60606
        Tele: (813) 500-1500                                Tele: (312) 701-8792
        Fax: (813) 435-2369                                 Fax: (312) 706-8169
        Attorney for Plaintiff                              Attorney for Defendant
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                                   CERTIFICATE OF SERVICE

      I certify that on January 3, 2019, a copy of the foregoing document was served on all counsel of
record via CM/ECF.



                                           s/Amanda J. Allen, Esq.
                                              Amanda J. Allen, Esquire
                                              Florida Bar No. 98228
                                              Amanda@TheConsumerProtectionFirm.com
                                              Shenia@TheConsumerProtectionFirm.com
                                              THE CONSUMER PROTECTION FIRM, PLLC
                                              4030 Henderson Blvd.
                                              Tampa, FL 33629
                                              Tele: (813) 500-1500
                                              Fax: (813) 435-2369
                                              Attorney for Plaintiff
